                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION


WILLIAM FEEHAN,

               Plaintiff,
       v.

 WISCONSIN ELECTIONS COMMISSION,
 and its members ANN S. JACOBS, MARK
 L. THOMSEN, MARGE BOSTELMANN,                                             Case No.: 20CV1771
 JULIE M. GLANCEY, DEAN KNUDSON,
 ROBERT F. SPINDELL, JR., in their official
 capacities, GOVERNOR TONY EVERS,
 in his official capacity,

                Defendants.


                                 NOTICE OF APPEARANCE



       PLEASE TAKE NOTICE that Paul M. Smith of the Campaign Legal Center has been

retained by defendant Governor Tony Evers in this action. Please serve copies of all papers in this

action on the undersigned at the address set forth below.


       Respectfully submitted this 4th day of December 2020.

                                             /s/ Paul M. Smith
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